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                        UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF PENNSYLVANIA

JOSHUA A. MONIGHAN,

                     Plaintiff,                     CIVIL ACTION NO. 1:18-CV-01654

       v.                                                      (JONES, J.)
                                                           (MEHALCHICK, M.J.)
GOVERNOR TOM WOLF,

                     Defendant


                                          ORDER

       Plaintiff commenced this action through the filing of a pro se complaint on August

21, 2018 (Doc. 1). On September 11, 2018, Defendant filed a motion to dismiss (Doc. 7),

and filed a brief in support of that motion on September 26, 2018. (Doc. 9). On September

12, 2018, Plaintiff filed a motion for summary judgment (Doc. 8). On October 14, 2018,

Defendant filed a motion to stay the deadline to respond to plaintiff’s motion for summary

judgment until the court rules on the pending motion to dismiss (Doc. 14), and on October

26, 2018, Plaintiff filed a motion to stay summary judgment (Doc. 17).

       As the motion to dismiss remains pending, and further, as no discovery deadline has

been set yet, pursuant to the Court’s inherent power to manage its docket, the Plaintiff’s

Motion for Summary Judgment (Doc. 8), shall be STRUCK from the record as prematurely

filed, without prejudice to the Plaintiff’s right to refile his motion for summary judgment

after the close of discovery. See Wild Fish Conservancy v. Nat’l Park Serv., No. C12-5109, 2012

WL 6615925, at *4 (W.D. Wash. Dec. 19, 2012) (“Premature summary judgment motions

are generally disfavored.”); Rios v. Tilton, No. 2:07-CV-0790, 2010 WL 3784703, at *2 (E.D.

Cal. Sept. 24, 2010) (magistrate judge struck premature summary judgment motion without
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prejudice to refiling after close of discovery). As such, both parties’ motions to stay (Doc. 14

and Doc. 17) are DENIED as moot. On October 22, 2018, Plaintiff also filed a motion to

quash Defendant’s motion to stay (Doc. 16); as the motion to stay is denied as moot,

Plaintiff’s motion to quash is also DENIED as moot.



                                                           BY THE COURT:



Date: October 30, 2018                                     s/ Karoline Mehalchick
                                                           KAROLINE MEHALCHICK
                                                           United States Magistrate Judge




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